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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

LAUREN ADELE OLIVER,
an individual,

Plaintiff,

vs.                                                   Case No. 1:20-CV-00237-KK-SCY

MEOW WOLF, INC., a Delaware corporation;
VINCE KADLUBEK, an individual and officer;
and DOES 1-50,

Defendants.

                  MEOW WOLF, INC.’S SUPPLEMENTAL RESPONSES TO
                PLAINTIFF’S FIRST SET OF REQUESTS FOR PRODUCTION

        Defendant Meow Wolf, Inc., (Meow Wolf), by and through its undersigned counsel

hereby submits these supplemental responses to Plaintiff’s First Set of Requests for Production

as follows:

                                 REQUESTS FOR PRODUCTION

REQUEST NO. 5:

        All DOCUMENTS CONCERNING national and international impacts, impressions, and

viewings of the DOCUMENTARY and/or any trailer for the DOCUMENTARY.

RESPONSE TO REQUEST NO. 5:

        Meow Wolf objects to this request on the grounds that documents concerning persons who

have viewed the documentary or trailer for it seeks information not relevant to any claim or defense.

Meow Wolf further objects that the request is overbroad and unduly burdensome and the burden

and expense of producing the requested documents would vastly outweigh the likely benefit. Meow

Wolf further objects to this request on the grounds that “national and international impacts” and



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“impressions” is vague and ambiguous, leaving unclear what type of documents plaintiff actually

seeks.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 5:

         Subject to and without waiving the previous general or specific objections, see MW_014408

- 014413.



REQUEST NO. 7:

All COMMUNICATIONS between MEOW WOLF and TEA.

RESPONSE TO REQUEST NO. 7:

Meow Wolf objects to this request on the grounds that by calling for the production of all

communications between Meow Wolf and Themed Entertainment Association without limiting the

request to communications concerning Plaintiff or her work, the request seeks information not

relevant to any claim or defense. Meow Wolf further objects that the request is overbroad and

unduly burdensome and calls for documents that have no relationship or relevance to this action.

SUPPLEMENTAL RESPONSE TO REQUEST NO. 7:

         Subject to and without waiving the previous general or specific objections, and the narrowed

scope of responsive communications with Themed Entertainment Association (TEA) between 2016

and 2018, see MW_014414 – 017200.



REQUEST NO. 12:

         DOCUMENTS sufficient to verify the gross revenue MEOW WOLF realized from HoER,

from March 16, 2016 to the present, including, without limitation, revenue from ticket sales, events,

bar/café sales, gift shop sales, online sales, content sales, and licensing proceeds.



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RESPONSE TO REQUEST NO. 12:

       Meow Wolf objects to this request on the grounds that it is overbroad, unduly burdensome,

and seeks information far beyond what is relevant to the claims or defenses in this action. Meow

Wolf further objects that the request for documents concerning all proceeds derived by Meow Wolf

over a period of more than 4 years including revenue wholly unrelated to plaintiff’s work would

impose a burden that outweighs any likely benefit, is not proportional to the needs of the case, and

is intrusive and harassing.


SUPPLEMENTAL RESPONSE TO REQUEST NO. 12:

       Subject to and without waiving the previous general or specific objections, see

MW_017201, MW_014408 – 014413, which reflect revenue and expenses related to Meow Wolf’s

HoER Coloring Book, HoER Exhibition Catalog, and documentary.


Dated: March 10, 2021

                                             Respectfully submitted,

                                             BARDACKE ALLISON LLP

                                             /s/ Breanna Contreras
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                                             Counsel for Meow Wolf Inc. and Vince Kadlubek




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                                                                                   EXHIBIT 2
